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Davis, Davis & Davis
Artarnevs

PO, Box 3448
Raoconc, VA 24143

EARL THOMAS BROWN, JR.,

VIRGINIA: IN THE CIRCUIT COURT OF WYTHE COUNTY

Plaintiff

COMPLAINT

Case No. CL/ ZS SO

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WILLIAM PAUL CHOWNING, JR.,
5394 Leonard Street
‘Coopersville, MI 49404

    

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Defendant

COMES NOW the plaintiff, Earl Thomas Brown, Jr, and files this Complaint against
the defendant for the sum of Five Hundred Thousand Dollars ($500,000.00), plus interest from.
June 20, 2015, and costs for the following wrongs and damages, to-wit:

1. That on June 20, 2015 at approximately 8:18 a.m. the plaintiff, Earl Thomas
Brown, Jr., was a restrained driver in a 2002 Cadillac Seville and was traveling in an easterly
direction on East Main Street in the Town of Wytheville, Wythe County, Virginia. At the same
time and place the defendant, William Paul Chowning, Jr., was operating a 2006 Dodge
Caravan and was traveling in a southerly direction on Malin Drive. At the intersection of
Malin Drive and East Main Street, the defendant negligently pulled out into the intersection
and violently struck the plaintiff's vehicle in the passenger side. Mr. Chowning was charged
with the offense of Failure to Yield the Right of Way.

2. That before and at the time of the collision in question it was the duty of the
defendant, William Paul Chowning, Jr. , to keep a proper lookout; to operate his vehicle ina
proper portion of the highway; to operate his vehicle at a proper speed under the
circumstances and conditions then and there prevailing; to stop his vehicle in obedience to
traffic lights and signs when required to do so by state law; to yield the right-of-way to traffic
having the right-of-way; to keep his vehicle under proper control; to not operate his vehicle
while being distracted by cell phones, etc., and to otherwise operate his vehicle ina careful,

prudent, and non-negligent manner in conformity with the laws of the Commonwealth of

Virginia.

 

 

 

 
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3. That notwithstanding his duties aforesaid, the defendant, William Paul Chowning,

Jr., was then and there guilty of negligence in the operation of his vehicle in that he failed to
keep a proper lookout; failed to operate his vehicle in a proper portion of the highway; failed
to operate his vehicle at a proper speed under the circumstances and conditions then and

| there prevailing; failed to stop his vehicle in obedience to traffic lights and signs when
required to do so; failed to yield the right-of-way to the plaintiff and other traffic having the
| right-of-way; failed to keep his vehicle under proper control; failed to operate his vehicle
undistracted; and otherwise failed to operate his vehicle in a careful, prudent, and non-

/ negligent manner in conformity with the laws of the Commonwealth of Virginia;
4. That as a result of the negligence of the defendant as aforesaid, the plaintiff, Earl

 

Thomas Brown, Jr., was severely injured in that he sustained injuries to his limbs and trunk,
' injuries to his nervous system and musculoskeletal system, has lost time from work and will
; lose time from work in the future; has incurred hospital and medical expenses and will incur
hospital and medical expenses in the future; has suffered and will continue to suffer great
emotional stress and physical pain in the future; has sustained a loss of earning capacity;
and, has been otherwise permanently disfigured and disabled. °

WHEREFORE, plaintiff moves this Court for judgment against the defendant in the
sum of FIVE HUNDRED THOUSAND DOLLARS ($500,000.00), plus interest from June 20,
2015, and costs and other related expenses necessitated by defendant William Paul Chowning
Jr.’s negligence on that date.
Respectfully,

EARL THOMAS BOWS, Je , JR.

By fel.
~ Qf Gounsel

Beverly M. Davis, Esquire
DAVE, DAVIS & DAVIS ATTORNEYS
P. O. Box 3448
Radford, VA 24143
(540) 639-9081
Counsel for Plaintiff, Earl Thomas Brown, fr.

 

 

 

 

 

 

 

 
